Case 21-51345-jrs       Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05            Desc Main
                                  Document     Page 1 of 32



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


                                       )                    CHAPTER 7
IN RE:                                 )
                                       )                    CASE NO. 21-51345-JRS
LARRY DARNELL GORE, JR.,               )
                                       )
       Debtors.                        )
                                       )
                                       )
S. GREGORY HAYS, as Chapter 7 trustee, )
                                       )
       Movant,                         )
                                       )
v.                                     )                    CONTESTED MATTER
                                       )
MIDFIRST BANK, NAVY FEDERAL CREDIT )
UNION, INTERNAL REVENUE SERVICE,       )
GWINNETT COUNTY TAX                    )
COMMISSIONER, PEACEMAKER               )
CONTRACTORS, LLC, and LARRY            )
DARNELL GORE, JR.,                     )
                                       )
       Respondents.                    )
                                       )


    TRUSTEE’S MOTION FOR (I) AUTHORITY TO (A) SELL PROPERTY OF THE
    BANKRUPTCY ESTATE FREE AND CLEAR OF ALL LIENS, INTERESTS, AND
 ENCUMBRANCES AND (B) DISBURSE CERTAIN PROCEEDS AT CLOSING; AND (II)
   ALLOWANCE AND AUTHORITY TO PAY ADMINISTRATIVE EXPENSE CLAIM

       COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate of Larry Darnell Gore, Jr. (“Debtor”), pursuant to 11 U.S.C. §§ 363(b), (f), and (m) and

503(b)(1), and Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c) and 9014, through undersigned

counsel, and files Trustee’s Motion for (I) Authority to (A) Sell Property of the Bankruptcy Estate

Free and Clear of All Liens, Interests and Encumbrances, and (B) Disburse Certain Proceeds at

Closing; and (II) Allowance and Authority to Pay Administrative Expense Claim (the “Sale
Case 21-51345-jrs       Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05           Desc Main
                                  Document     Page 2 of 32



Motion”), respectfully showing:

                                     Venue and Jurisdiction

       1.       This Court has jurisdiction over this Sale Motion under 28 U.S.C. §§ 157 and

1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. This Sale

Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                          Background

                                     a. General Background

       2.       On February 17, 2021 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 13 of Title 11 of the United States Code, initiating Case No. 21-51345-JRS

(the “Case”).

       3.       Also on the Petition Date, Debtor filed under penalty of perjury his Statement of

Financial Affairs, Schedules “A” through “J”, and Other Bankruptcy Documents [Doc. No. 1]

(the “Schedules”).

       4.       On September 24, 2021, Debtor filed a Notice of Conversion of Case to Chapter 7

Under Section 1307(a). [Doc. No. 35].

       5.       The Case was converted to a proceeding under Chapter 7 on September 27, 2021.

Trustee was thereafter appointed the duly acting Chapter 7 trustee in the Case under 11 U.S.C. §

701(a)(1), and he remains in this role.

       6.       At the commencement of the Case, the bankruptcy estate was created under 11

U.S.C. § 541(a) (the “Bankruptcy Estate”), and the Bankruptcy Estate includes all Debtor’s

legal or equitable interests in property as of the commencement of the Case and any interest in

property that the Bankruptcy Estate acquired after commencement of the Case. 11 U.S.C. §§

541(a)(1) and (7).
Case 21-51345-jrs        Doc 68     Filed 05/19/23 Entered 05/19/23 15:07:05              Desc Main
                                    Document     Page 3 of 32



        7.      Trustee is the sole representative of the Bankruptcy Estate. 11 U.S.C. § 323(a).

        8.      The duties of Trustee include his obligation to “collect and reduce to money the

property of the estate . . . .” 11 U.S.C. § 704.

                                           b. The Property

        9.      On the Petition Date, Debtor was the sole owner of record of that certain real

property with a common address of 198 Melody Lane, Lawrenceville, Gwinnett County, Georgia

30043 (the “Property”).

        10.     On his Schedule C: The Property You Claim as Exempt, Debtor scheduled a

homestead exemption in the Property in the amount of $21,500.00 under O.C.G.A. § 44-13-

100(a)(1) (the “Property Exemption”). See [Doc. No. 1, page 15 of 55].

                          c. Alleged Liens, Interests, and Encumbrances

        11.     On his Schedule D: Creditors Who Have Claims Secured by Property [Doc. No.

1, page 18 of 55], Debtor scheduled two claims on or against the Property: (a) a mortgage in the

amount of $41,497.00 in favor of Midland Mortgage and (b) a mortgage in the amount of

$72,069.00 in favor of Navy Federal Credit Union. Each of these entities filed proofs of claim in

this Case in the amounts of $45,652.80 and $67,796.51, respectively

        12.     Trustee has obtained a title report for the Property (the “Title Report”), which

confirms the secured claims of Midland Mortgage a division of MidFirst Bank (“MidFirst”) and

Navy Federal Credit Union (“Navy Federal”) in the Property.

        13.     The Title Report also indicates that the Internal Revenue Service (the “IRS”) may

have a tax lien against the Property based on a tax assessed against In S. Song. However, the

previous owner of the Property who transferred the Property to Debtor was In Ahe Song and not

In S. Song. As a result, Trustee asserts that the IRS has no lien against the Property.
Case 21-51345-jrs      Doc 68     Filed 05/19/23 Entered 05/19/23 15:07:05           Desc Main
                                  Document     Page 4 of 32



       14.     The Title Report reflects no other liens, interests, or encumbrances on or against

the Property except for an inchoate ad valorem real property taxe owed to the Gwinnett County

Tax Commissioner (“Gwinnett County”).

       15.     On December 9, 2021, Trustee filed his Application to Employ Real Estate Agent

Under Listing Agreement [Doc. No. 55], seeking authority to employ Humphries & King Realty

and John V. Ball (collectively, the “Broker”) as the listing agent for the Bankruptcy Estate, at a

starting list price of $300,000.00 (the “List Price”) with a six percent (6%) commission of the

sale price. On December 10, 2021, the Court entered an Order [Doc. No. 56], authorizing

Trustee’s employment of the Broker.

                       d. Post-Petition Damage and Repairs to Property

       16.     Upon information and belief, on or about May 22, 2021, after the Petition Date,

the Property was damaged by water, and Debtor contracted with Peacemaker Contractors, LLC

(“Peacemaker Contractors”) to mitigate the damage.

       17.     Upon information and belief, and, again, after the Petition Date, Peacemaker

Contractors repaired the damage and invoiced Debtor $13,983.84 for its services.          Trustee

attaches a copy of the invoice of Peacemaker Contractors as Exhibit “B” to this Sale Motion.

       18.     Upon information and belief, Travelers Home and Marine Insurance Company

(“Travelers”) insured the Property, and it delivered a check to Debtor in the amount of

$12,638.47 for the services provided by Peacemaker Contractors.

       19.     Upon information and belief, Debtor never paid the $12,638.47 (that Travelers

gave to him) to Peacemaker Contractors, and he kept those funds for his own use.1



1
       Trustee is attempting to resolve issues related to Debtor’s taking of these funds. He
intends to hold Debtor’s Property Exemption until he resolves these issues and subject to further
order of the Court.
Case 21-51345-jrs      Doc 68     Filed 05/19/23 Entered 05/19/23 15:07:05          Desc Main
                                  Document     Page 5 of 32



       20.     The services of Peacemaker Contractors provided a concrete benefit to the

Bankruptcy Estate as they returned the Property to a saleable condition.

                         e. Filed Claims Against the Bankruptcy Estate

       21.     The total of the filed claims against the Bankruptcy Estate is $396,753.94.

$15,073.11 of these claims are filed as priority unsecured claims, and $220,847.20 of these

claims are filed as non-priority, general unsecured claims. The deadline to file proofs of claim

was February 14, 2022. [Doc. No. 47].

     Proposed Sale Free and Clear of All Liens, Claims, Interests, and Encumbrances

       22.     After much negotiation, Trustee entered into a Purchase and Sale Agreement for

the sale of the Property to Pho Huynh and Quoc Tran (the “Purchasers”), “as is, where is,” for a

sale price of $304,000.00 (the “Purchase Price”),2 subject to Bankruptcy Court approval (the

“Contract”). A true and correct copy of the Contract, as amended, is attached hereto and

incorporated herein by reference as Exhibit “A.”

       23.     The Purchasers were procured through the efforts of Trustee and his Broker, are

bona fide purchasers, and are not an insider of Debtor, Trustee, or the Broker. The Purchasers

will submit an earnest money deposit in the amount of $6,500.00.

       24.     Trustee’s proposed Contract for a Purchase Price of $304,000.00 is: (a) the

highest and best offer that Trustee has received; and (b) an appropriate selling price for the

Property.

       25.     Subject to Bankruptcy Court approval, the closing of the sale of the Property is

currently scheduled for June 23, 2023 (the “Closing”).



2
        The Purchase Price was originally $324,000.00; however, after an inspection and
identified necessary repairs, the Purchasers requested a reduction to $304,000.00, which Trustee
agreed to.
Case 21-51345-jrs           Doc 68     Filed 05/19/23 Entered 05/19/23 15:07:05           Desc Main
                                       Document     Page 6 of 32




                                            Relief Requested

        26.         Trustee requests an order from the Court granting this Sale Motion; approving the

Contract; and authorizing Trustee to sell, assign, and transfer the Bankruptcy Estate’s right, title,

and interest in and to the Property to Purchasers for a Purchase Price of $304,000.00 free and

clear of all liens, claims, interests, and encumbrances but otherwise on an “as is, where is” with

all faults basis.

        27.         Trustee requests an order from the Court finding that Trustee and Purchasers have

proceeded in good faith and that Trustee and Purchasers are entitled to the protections of 11

U.S.C. § 363(m).

        28.         Trustee requests an order from the Court granting Peacemaker Contractors an

administrative expense claim in the amount of $13,983.84 (the “Administrative Expense

Claim”) and authorizing Trustee to pay the Administrative Expense Claim from the proceeds of

the proposed sale.

                                              Legal Analysis

                                          a. Sale Free and Clear

        29.         Section 363 of the Bankruptcy Code authorizes a trustee “after notice and a

hearing . . . [to] use, sell, or lease, other than in the ordinary course of business, property of the

estate . . . .” 11 U.S.C. § 363(b)(1). Section 105 of the Bankruptcy Code grants this Court the

authority to “issue any order, process, or judgment necessary or appropriate to carry out the

provisions of this title.” 11 U.S.C. § 105(a).

        30.         The standard to grant a sale of property outside of the ordinary course of business

is the sound business judgment of the trustee. In re Chateaugay, 973 F.2d 141 (2d Cir. 1992);
Case 21-51345-jrs       Doc 68     Filed 05/19/23 Entered 05/19/23 15:07:05              Desc Main
                                   Document     Page 7 of 32



Stephens Indus. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986); In re Abbotts Dairies of Penn.,

Inc., 788 F.2d 143 (3d Cir. 1986); Committee of Equity Security Holders v. Lionel Corp. (In re

Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983). In this regard, a trustee’s showing need not

be exhaustive; rather, a trustee is “simply required to justify the proposed disposition with sound

business reason.” In re Baldwin United Corp., 43 B.R. 888, 906 (Bankr. S.D. Ohio 1984).

       31.     Applying these principles of law here, the Court should authorize the proposed

sale because it will result in Trustee’s making a meaningful distribution to unsecured creditors,

and absent the proposed sale, such a significant distribution is unlikely.

       32.     In turn, Section 363(f) of the Bankruptcy Code authorizes a trustee to sell

property under 11 U.S.C. § 363(b) free and clear of any interest in the subject property if, among

other things, the price at which the property is to be sold is greater than the aggregate of the liens

on such property, or if such interest is the subject of a bona fide dispute. 11 U.S.C. § 363(f).

Specifically, that code section provides:

       (f) The trustee may sell property under subsection (b) or (c) of this section free
       and clear of any interest in such property of an entity other than the estate, only if-

               (1)     applicable nonbankruptcy law permits sale of such property free
                       and clear of such interest;
               (2)     such entity consents;
               (3)     such interest is a lien and the price at which such property is to be
                       sold is greater than the aggregate value of all liens on such
                       property;
               (4)     such interest is in bona fide dispute; or
               (5)     such entity could be compelled, in a legal or equitable proceeding,
                       to accept a money satisfaction of such interest.
Id.

       33.     As set forth above and below, Trustee can, under 11 U.S.C. § 363(f), sell the

Property free and clear of all liens, claims, interests, and encumbrances with any lien (to the

extent valid, perfected, enforceable, and unavoidable) attaching to the proceeds of the sale with
Case 21-51345-jrs        Doc 68     Filed 05/19/23 Entered 05/19/23 15:07:05            Desc Main
                                    Document     Page 8 of 32



the same priority and extent as it had in the Property.

         34.   MidFirst, Navy Federal, and Gwinnett County have the only valid liens on or

against the Property, and, upon information and belief, the sum of those liens is less than

$120,000.00. The proposed Purchase Price is significantly greater than the amounts owed to

these lienholders, satisfying Section 363(f)(3).

         35.   In addition, the alleged lien of the IRS is no lien at all because it is owed by

someone other than the “In Ahe Song” who transferred the Property to Debtor. At the very least,

it is the subject of a bona fide dispute, satisfying Section 363(f)(4).

         36.   Notably, the proposed sale of the Property is not in the ordinary course of

business, as allowed by 11 U.S.C. § 363(b). Any lien to the extent valid, perfected, enforceable

and unavoidable will attach to the proceeds of the sale as provided by 11 U.S.C. § 363(f).

                             b. Good Faith of Trustee and Purchasers

         37.   Moreover, 11 U.S.C. § 363(m) provides that the reversal or modification on

appeal of an authorization of a sale or lease of property does not affect the validity of the sale or

lease under such authorization to an entity that purchased or leased the property in good faith.

See 11 U.S.C. § 363(m).

         38.   Although the Bankruptcy Code does not define good faith, courts have recognized

that the kind of misconduct that would destroy a good faith status involves fraud, collusion

between the purchaser and other offerors or the trustee, or an attempt to take grossly unfair

advantage of other offerors. See In re Abbott Dairies of Pa., Inc., 788 F.2d 143, 147 (3d Cir.

1986).

         39.   Trustee and Purchasers have proceeded in good faith, and the Purchasers are bona

fide, good-faith purchasers and not insiders of Debtor, Trustee, or the Broker. Consequently,
Case 21-51345-jrs       Doc 68     Filed 05/19/23 Entered 05/19/23 15:07:05             Desc Main
                                   Document     Page 9 of 32



Trustee and Purchasers are entitled to the protections of 11 U.S.C. § 363(m).

                  c. Administrative Expense Claim of Peacemaker Contractors

       40.     Section 503(b) provides that “after notice and a hearing, there shall be allowed

administrative expenses . . . the actual, necessary cost and expenses of preserving the estate

including wages, salaries, or commission for services rendered after the commencement of the

case . . . .” 11 U.S.C. § 503(b)(1)(A)(i). Because of the Bankruptcy Code’s goal to equally

distribute a debtor’s assets to all creditors, requests for priority claims are narrowly construed to

preserve assets for all creditors. In re Enron Corp., 279 B.R. 695, 704 (Bankr. S.D.N.Y. 2002).

The burden to prove that it is entitled to an administrative expense claim falls squarely on the

movant. See In re Bridgeport Plumbing Products, Inc., 178 B.R. 563 (Bankr. M.D. Ga. 1994);

In re Fulwood Enterprises, Inc., 149 B.R. 712, 715 (Bankr. M.D. Fla. 1993).

       41.     To qualify as an administrative expense claim, not only must the “expense be

‘actual’ and ‘necessary,’ but also [there must be] a concrete benefit to the estate.”          In re

Beverage Canners Int’l Corp., 255 B.R. 89, 92 (Bankr. S.D. Fla. 2000) (citing Broadcast Corp.

of Georgia v. Broadfoot (In re Subscription Television of Greater Atlanta), 789 F.2d 1530 (11th

Cir. 1986)); see also In re Enron Corp., 279 B.R. 79 (Bankr. S.D.NY. 2002); In re Enron Corp.,

279 B.R. 695 (Bankr. S.D.N.Y. 2002).

       42.     In applying these principles of law to the facts here, it is clear that Peacemaker

Contractors has provided a concrete benefit to the Bankruptcy Estate because it restored the

Property after the Petition Date to a saleable condition. And, there will be sufficient funds to pay

this claim at a closing of the proposed sale, so Trustee requests authority to do so at the Closing

of the proposed sale.
Case 21-51345-jrs       Doc 68     Filed 05/19/23 Entered 05/19/23 15:07:05              Desc Main
                                  Document      Page 10 of 32



                Request for Authority to Disburse Certain Proceeds at Closing

          43.   Trustee requests authority to have all sale proceeds paid to him at Closing and for

authority to have paid at Closing: (a) the full loan payoffs to MidFirst and Navy Federal; (b) all

outstanding ad valorem real property taxes owed to Gwinnett County (none anticipated); (c) the

Bankruptcy Estate’s pro-ration of the 2023 ad valorem county real property taxes owed to

Gwinnett County; (d) the real estate commission of six percent (6%) of the Purchase Price in the

amount of $18,240.00; (e) any capital gains or other taxes related to the sale (none anticipated);

(f) water and sewer liens (none anticipated); (g) all other costs of sale, or costs necessary to close

a sale of the Property; and (h) the Administrative Expense Claim of Peacemaker Contractors in

the amount of $13,983.84.

          44.   All other distributions will be made only upon further order of the Court.

Notably, Trustee is not requesting authority to pay Debtor’s Property Exemption because Trustee

needs to resolve a dispute with Debtor related to his use of the funds paid to him by Travelers.

          45.   To the extent funds are disbursed at Closing by a party other than Trustee, Trustee

requests that such party be treated as Trustee’s designated and authorized agent.

          46.   Based on the above proposed distributions, Trustee estimates that the proposed

sale will result in approximately $140,000.00 to $150,000.00 coming into the Bankruptcy Estate,

all of which will be available to distribute in accordance with 11 U.S.C. § 726 (once Trustee

resolves the dispute with Debtor related to the insurance proceeds from Travelers).          In other

words, upon information and belief, the proposed sale of the Property to Purchasers will allow

Trustee to make a meaningful distribution to holders of unsecured claims against the Bankruptcy

Estate.
Case 21-51345-jrs       Doc 68     Filed 05/19/23 Entered 05/19/23 15:07:05            Desc Main
                                  Document      Page 11 of 32



                                     Other Relief Requested

       47.     In addition, Trustee requests that the Court waive the stay of the order approving

the proposed sale as authorized under Rule 6004(h) of the Federal Rules of Bankruptcy

Procedure.

       48.     Finally, following notice to all creditors and parties in interest of the Sale Motion

and the date of the Hearing, Trustee invites any and all parties wishing to submit a competing

cash bid which exceeds the present Contract by at least $7,000.00, supported by earnest money

of at least two percent (2%) of the bid price, with no contingencies, and the ability to close

within ten (10) days from Bankruptcy Court approval, so long as earnest money is paid to the

Trustee in good funds and any such bid is filed with the Court in the form of an objection to the

Sale Motion by the objection deadline set forth in the related notice of hearing and objection

deadline filed contemporaneously herewith.

       WHEREFORE, Trustee respectfully requests that the Court enter an Order:

       (a)     Granting the Sale Motion;

       (b)     Authorizing and approving the Contract and the sale of the Property free and clear

of all liens, interests, and encumbrances;

       (c)     Authorizing the distribution of certain proceeds at Closing, as set forth herein;

       (d)     Finding that Purchasers are good faith purchasers and that Trustee and Purchasers

are entitled to the protections of 11 U.S.C. § 363(m);

       (e)     Authorizing the proposed sale to be consummated immediately as allowed by

Federal Rules of Bankruptcy Procedure Rule 6004(h);

       (f)     Approving the Administrative Expense Claim of Peacemaker Contractors and

authorizing Trustee to pay the same at the Closing; and
Case 21-51345-jrs     Doc 68      Filed 05/19/23 Entered 05/19/23 15:07:05          Desc Main
                                 Document      Page 12 of 32



      (g)    Granting such other and further relief as the Court deems just or appropriate.

      Respectfully submitted this 19th day of May, 2022.


                                      ROUNTREE LEITMAN KLEIN & GEER LLC
                                      Attorneys for Trustee

                                      By:/s/ Michael J. Bargar
2987 Clairmont Road, Suite 350            Michael J. Bargar
Atlanta, GA 30329                         Georgia Bar No. 645709
404-410-1220                              mbargar@rlkglaw.com
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 13 of 32




                              EXHIBIT “A” FOLLOWS
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 14 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 15 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 16 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 17 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 18 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 19 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 20 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 21 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 22 of 32




                                                                    05/12/2023
                         John Ball
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 23 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 24 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 25 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 26 of 32
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 27 of 32
dotloop signature verification: dtlp.us/WMw4-iASw-JbW7

                     Case 21-51345-jrs                   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05                             Desc Main
                                                                  Document      Page 28 of 32
                                                          AMENDMENT TO AGREEMENT
                                                             AMENDMENT # _____
                                                                           1
                                                                           5/17/2023
                                                          Date: ________________________________

                                                                                                                                                      2023 Printing
                                                                                       Pho Huynh, Quoc Tran
        Whereas, the undersigned parties have entered into a certain Agreement between ___________________________________________
                                                                      LARRY        GORE
                                                                                    S. Gregory Hays, as and only as Chapter 7 Trustee for bankruptcy
        _______________________________________________ (“Buyer”) and _____________________________________________
                                                                      estate of Larry D. Gore, Jr. (Case No. 21-51345-JRS) (“Seller”),
                                                         5/12/2023
        with a Binding Agreement Date of __________________________________________ for the purchase and sale of real property located at:
        198 Melody Lane
        __________________________________________________________, Lawrenceville
                                                                    ______________________________, Georgia 30043
                                                                                                            ___________; and

        Whereas, the undersigned parties desire to amend the aforementioned Agreement, it being to the mutual benefit of all parties to do so;

         Now therefore, for and in consideration of the sum of Ten Dollars ($10.00) and other valuable considerations paid by each to the other, the
         receipt and sufficiency of which are hereby acknowledged, the parties hereto agree to modify and amend the aforementioned Agreement as
         follows: [Note: The following language is furnished by the parties and is particular to this transaction.]
        All parties acknowledged and agreed:
        1. The sale price will be $304,000.00
        3. If this Amendment is not executed, it will serve as the termination notice per Unilateral Notice to Terminate Purchase and Sale
        Agreement. All Earnest Money will return back to Buyer in full.




         Additional pages (F801) are attached.
        It is agreed by the parties hereto that all of the other terms and conditions of the aforementioned Agreement shall remain in full force and
        effect other than as modified herein. Upon execution by all parties, this Amendment shall be attached to and form a part of said Agreement.

               By signing this Amendment, Buyer and Seller acknowledge that they have each read and understood this
                                               Amendment and agree to its terms.
                                                                                        S. Gregory Hays, as Chapter 7 Trustee for the   dotloop verified
                                                                                                                                        05/17/23 6:34 PM EDT
                                                                                        bankruptcy of Larry Gore, Jr.
        ________________________________________________                            __________________________________________________
                                                                                                                                        YRRC-XQ4O-ILWR-KNKX

                           b8bacb8
        1 Buyer’s Signature                                                         1 Seller’s Signature


        ________________________________________________                            __________________________________________________
                           71dec79
        2 Buyer’s Signature                                                         2 Seller’s Signature


         Additional Signature Page (F267) is attached.                              Additional Signature Page (F267) is attached.
        US  Great Homes Realty, LLC
        ________________________________________________                           Humphries   & King Realty, LLC.
                                                                                   __________________________________________________
        Buyer Brokerage Firm                                                        Seller Brokerage Firm

                                                                                       John Ball
                                                                                                                                         dotloop verified
                                                                                                                                         05/17/23 6:38 PM EDT
        ________________________________________________                            __________________________________________________
                                                                                                                                         JSPE-JUEL-UABV-B26F

        Broker/Affiliated Licensee
                             f2229c4
                                     Signature                                      Broker/Affiliated Licensee Signature


        Atlanta REALTORS® Association
        ________________________________________________                            __________________________________________________
        REALTOR® Membership                                                         REALTOR® Membership


         Acceptance Date. The above Amendment is hereby accepted, _________________________
                                                                                        6:38           o’clock _________.m.
                                                                                                                       p    on the
         date of _____________________,
                       05/17/2023        (“Acceptance Date”). This Amendment will become binding upon the parties when notice of
         the acceptance of the Amendment has been received by offeror. The offeror shall promptly notify offeree when acceptance
         has been received.
                                                                                                               Khoi Nguyen
        THIS FORM IS COPYRIGHTED AND MAY ONLY BE USED IN REAL ESTATE TRANSACTIONS IN WHICH _____________________________ IS INVOLVED AS A REAL
        ESTATE LICENSEE. UNAUTHORIZED USE OF THE FORM MAY RESULT IN LEGAL SANCTIONS BEING BROUGHT AGAINST THE USER AND SHOULD BE REPORTED
        TO THE GEORGIA ASSOCIATION OF REALTORS® AT (770) 451-1831.
        Copyright© 2023 by Georgia Association of REALTORS®, Inc.                                         F701, Amendment to Agreement, 01/01/23
Case 21-51345-jrs   Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05   Desc Main
                             Document      Page 29 of 32




                              EXHIBIT “B” FOLLOWS
     Case 21-51345-jrs           Doc 68      Filed 05/19/23 Entered 05/19/23 15:07:05                     Desc Main
                                            Document      Page 30 of 32
                                                                                            Date of Comple on: 12/7/2021
                                                                                            Date of Invoice: 1/3/2021
                                                                                            Customer Informa"on:
                                                                                            Larry Gore
                                                                                            198 Melody Lane
                                                                                            Lawrenceville, GA 30043
                                                                                            404.909.6809
                                                  CUSTOMER INVOICE                          Larry.D.Gore@gmail.com

        Travelers Claim #: INU6478

        Work complete as per scope of contract and/ or insurance summary:

Insurance Base                                                                          $7,389.36
    -   All repairs completed per contracted signed/ dated 11/1/2021
    -   Installed new LVP – Aspire Accolade
             o Kitchen w/ closet
             o Dining Room
             o Family Room
             o Upstairs Hallway
             o Foyer/ entry
             o Downstairs Hallway
    -   Installed new baseboard where missing
    -   Install new quarter round
    -   Repaired ceiling in garage
             o New texture
             o Painted ceiling
Supplements Items Paid by Insurance                                                     $6,044.92
        -    Price List Update
        -    Painted Walls
        -    O&P applica on
        -    Garage line items
        -    Other misc. line items

Addi onal Charges                                                                       $549.56
       -    New carpet on stairs at entry/ foyer – Cordova Salty Air

TOTAL DUE                                                                               $13,983.84

Send Payment(s) to:

Peacemaker Contractors, LLC
P.O. Box 2242
Loganville, GA 30052

Please issue payment(s) at your earliest convenience. If there are any ques ons, please contact the representa ve listed
below. Thank you for your business!!

Apprecia vely,

Will Collins
Peacemaker Contractors, LLC
770.891.5245
Case 21-51345-jrs        Doc 68     Filed 05/19/23 Entered 05/19/23 15:07:05              Desc Main
                                   Document      Page 31 of 32



                                      CERTIFICATE SERVICE

        This is to certify that I, Michael J. Bargar, am over the age of 18 and that on this day I have
caused to be served a copy of the forgoing Trustee’s Motion for (I) Authority to (A) Sell Property of
the Bankruptcy Estate Free and Clear of All Liens, Interests and Encumbrances, and (B) Disburse
Certain Proceeds at Closing; and (II) Allowance and Authority to Pay Administrative Expense
Claim by depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage affixed thereon to assure delivery by first class United States Mail and/or certified
mail, as indicated, to the following persons at the addresses stated:
First Class Mail                                        First Class Mail
Office of the United States Trustee                     Denise R. Mitchell, MPA
362 Richard B. Russell Bldg.                            Gwinnett County Justice & Administration
75 Ted Turner Drive, SW                                 Center
Atlanta, GA 30303                                       Tax Commissioner's Office
                                                        75 Langley Drive
First Class Mail                                        Lawrenceville, GA 30046
Navy Federal Credit Union
PO Box 23800                                            First Class Mail
Merrifield, VA 22119-3800                               Denise R. Mitchell, MPA
                                                        Gwinnett County Tax Commissioner
First Class Mail                                        PO Box 372
Navy Federal Credit Union                               Lawrenceville, GA 30046-0372
Attn: Josephine E. Salmon
Aldridge Pite, LLP                                      First Class Mail
4375 Jutland Drive, Suite 200                           Michael Campbell
PO Box 17933                                            Attention: Denise Hammock
San Diego, CA 92177-0933                                Campbell & Brannon, LLC
                                                        5565 Glenridge Connector, Suite 350
First Class Mail                                        Atlanta, GA 30342
MidFirst Bank
Bankruptcy Department                                   First Class Mail
999 NW Grand Blvd                                       John V. Ball
Oklahoma City, OK 73118                                 Humphries & King Realty
                                                        830 Glenwood Avenue
First Class Mail                                        Suite 510-205
MidFirst Bank                                           Atlanta, GA 30316
Attn: Heather D. Bock
McCalla Raymer Leibert Pierce, LLC                      First Class Mail
1544 Old Alabama Road                                   John Gerard Brookhuis
Roswell, GA 30076                                       Brookhuis Law, LLC
                                                        1350 Scenic Hwy
                                                        Ste 266
                                                        Snellville, GA 30078
Case 21-51345-jrs      Doc 68    Filed 05/19/23 Entered 05/19/23 15:07:05        Desc Main
                                Document      Page 32 of 32



First Class Mail                                First Class Mail
Larry Darnell Gore, Jr.                         Internal Revenue Service
198 Melody Lane                                 401 W. Peachtree Street, N.W.
Lawrenceville, GA 20043                         Stop 334-D
                                                Atlanta, GA 30308
First Class Mail
Peacemaker Contractors LLC                      First Class Mail
c/o William Collins                             Department of Justice, Tax Division.
5025 Victoria Park Drive                        Civil Trial Section, Southern Region
Loganville, GA 30052                            P. O. Box 14198
                                                Ben Franklin Station
First Class Mail                                Washington, D. C. 20044
Internal Revenue Service
P.O. Box 21126                                  First Class Mail
Philadelphia, PA 19114                          United States Attorney General
                                                U.S. Department of Justice
First Class Mail                                950 Pennsylvania Avenue, NW
Lisa D. Smith                                   Washington, DC 20530-0001
Bankruptcy Specialist
Internal Revenue Service                        First Class Mail
401 W. Peachtree ST, NW                         Georgia Department of Revenue
M/S 334-D                                       Compliance Division
Atlanta, GA 30308-3539                          ARCS - Bankruptcy
                                                1800 Century Blvd NE, Suite 9100
First Class Mail                                Atlanta, GA 30345-3202
Internal Revenue Service
P.O. Box 7346                                   First Class Mail
Philadelphia, PA 19101-7346                     Michaelle Pretlow
                                                198 Melody Lane
                                                Lawrenceville, GA 30043

                                                First Class Mail
                                                Douglas Pretlow
                                                198 Melody Lane
                                                Lawrenceville, GA 30043




       This 19th day of May, 2023.
                                                /s/ Michael J. Bargar
                                                Michael J. Bargar
                                                Georgia Bar No. 645709
